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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                               ABINGDON DIVISION


KORAM COMPANY, LTD                                      )
d/b/a BELIEF TRADING COMPANY,                           )
                                                        )
                 Plaintiff,                             )      Case No. 1:19CV00008
                                                        )
v.                                                      )      ORDER GRANTING
                                                        )        JUDGMENT
                                                        )
BRISTOL COMPRESSORS                                     )      By: James P. Jones
INTERNATIONAL, LLC,                                     )      United States District Judge
                                                        )
                 Defendant.                             )


       The court previously entered a partial default judgment in this case on June 11, 2019, in

the amount of $71,416.05 against the defendant and in favor of the plaintiff, ECF No. 12.

Having now received additional evidence as to the damages suffered by the plaintiff, an

additional judgment is hereby entered pursuant to Federal Rule of Civil Procedure 55(b)(2).

Accordingly, default judgment is hereby entered in favor of Koram Company, Ltd, d/b/a Belief

Trading Company, against Bristol Compressors International, LLC, in the additional sum of

$62,626.88. This additional amount means that the total of the default judgments entered against

the defendant is $134,042.93.

       Nothing further to be done herein, the Clerk shall close the case.

       It is so ORDERED.


                                                     ENTER: July 22, 2019

                                                     /s/ James P. Jones
                                                     United States District Judge
